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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


  JOHN DOE 1, et al.,                                   )
                                                        )
                                Plaintiffs,             )
                                                        )
                           v.                           )        No. 1:23-cv-00542-SEB-MJD
                                                        )
  NATIONAL COLLEGIATE ATHLETIC                          )
  ASSOCIATION,                                          )
                                                        )
                                Defendant.              )




                           MINUTE ENTRY FOR JUNE 27, 2024
                          TELEPHONIC STATUS CONFERENCE
                     HON. MARK J. DINSMORE, MAGISTRATE JUDGE


         The parties appeared by counsel for a telephonic Status Conference. The parties

  discussed the status of and future plans for discovery, as well as the parties' proposed

  modifications to the case schedule. With the agreement of the parties, the approved Case

  Management Order as amended [Dkts. 50, 149, & 263] is hereby further amended as follows:

         I. Pretrial Pleadings and Disclosures

         F. Plaintiff(s) shall disclose the name, address, and vita of any expert witness
         with regard to class certification issues, and shall serve the report required by Fed.
         R. Civ. P. 26(a)(2)(B) or (C) on or before April 29, 2024. Defendant(s) shall
         disclose the name, address, and vita of any expert witness with regard to class
         certification issues, and shall serve the report required by Fed. R. Civ. P.
         26(a)(2)(B) or (C) on or before May 29, 2024. Plaintiff(s) shall disclose the name,
         address, and vita of any expert witness with regard to liability issues, and shall
         serve the report required by Fed. R. Civ. P. 26(a)(2)(B) or (C) on or before June
         7, 2024. Defendant(s) shall disclose the name, address, and vita of any expert
         witness with regard to liability issues, and shall serve the report required by Fed.
         R. Civ. P. 26(a)(2)(B) or (C) on or before October 11, 2024. Plaintiff(s) shall
         disclose the name, address, and vita of any expert witness with regard to damages,
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         and shall serve the report required by Fed. R. Civ. P. 26(a)(2)(B) or (C) on or
         before October 4, 2024. Defendant(s) shall disclose the name, address, and vita
         of any expert witness with regard to damages, and shall serve the report required
         by Fed. R. Civ. P. 26(a)(2)(B) or (C) on or before November 4, 2024.

         II. Discovery and Dispositive Motions

         A. On or before November 12, 2024, and consistent with the certification
         provisions of Fed. R. Civ. P. 11(b), the party with the burden of proof shall file a
         statement of the claims or defenses it intends to prove at trial, stating specifically
         the legal theories upon which the claims or defenses are based. A party's failure
         to file a timely statement of claims or defenses may result in the waiver of the
         party's claims or defenses. A party's failure to include in the party's statement of
         claims or defenses a claim or defense upon which the filing party has the burden
         of proof may result in the waiver of the omitted claim or defense.

         B. All discovery relating to class certification issues, including class certification
         expert witness discovery, shall be completed by June 28, 2024. All discovery
         relating to liability issues, including liability expert witness discovery, shall be
         completed by November 12, 2024. All remaining discovery shall be completed
         by January 17, 2025.

         C. Defendant shall file any dispositive motion on or before November 13, 2024;
         Plaintiffs shall respond to Defendant's dispositive motion, and shall include any
         cross-dispositive motion, on or before December 11, 2024; Defendant shall
         respond to Plaintiff's cross-dispositive motion, and shall include any reply in
         support of Defendant's dispositive motion, on or before January 9, 2025;
         Plaintiffs shall file any reply in support of their cross-dispositive motion on or
         before January 23, 2025.

         III. Trial Date

         This matter will be ready for trial in or after August, 2025. The trial is by jury
         and is anticipated to take 7-10 days.

  All other requirements of the approved Case Management Order as amended [Dkts. 50, 149, &

  263] remain in effect.

         On or before July 11, 2024, the parties shall file a joint motion to continue the trial of this

  matter to in or after August, 2025.
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         Following a discussion with the parties, Defendant was authorized to file a motion to

  enlarge the number of depositions that may be taken in this matter if the parties are unable to

  resolve their dispute with regard thereto.

         This matter is scheduled for a telephonic status conference on Thursday, July 25, 2024

  at 12:00 p.m. (Eastern) to discuss case status, as well as the parties' next Supplemental Joint

  Report on the Status of Discovery, which is due July 23, 2024. Counsel shall attend the status

  conference by calling the designated telephone number, to be provided by the Court via email

  generated by the Court's ECF system.



         Dated: 27 JUN 2024




  Distribution:

  Service will be made electronically
  on all ECF-registered counsel of record via
  email generated by the Court's ECF system.
